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                      UNITED STATES DISTRICT COURT
                           DISTRICT OF MONTANA
                             BILLINGS DIVISION




DENISE FABRIZIUS and                  )
WILLIAM FABRIZIUS,                    )
                                      )
             Plaintiffs,              )
                                      )            CV-08-114-BLG-RFC
      v.                              )
                                      )
                                      )            CLERK’S JUDGMENT
KEITH R. SHULTZ, M.D.,                )
                                      )
            Defendant.                )



_XX_ Jury Verdict. This action came before the Court for a trial by jury. The issues
have been tried and the jury has rendered its verdict.

       JUDGMENT is entered in favor of defendant Keith R. Shultz, M.D. and against
plaintiffs.

      FILED and ENTERED this 19th day of May, 2010.


                                PATRICK E. DUFFY, CLERK OF COURT

                                By: /s/ Cheri Anderson
                                      Deputy Clerk
